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Your Honor,

       I appreciate this opportunity to address the court prior to my sentencing.

        Let me start by telling the Court that I deeply regret and apologize to the Capitol Police and
members of Congress and the employees at the Congress for what they must have endured on that
day and its lasting impact. I regret the loss of life, the fear members of Congress must have felt, and
law enforcement working that day. While I did not personally damage any property or injure anyone,
I realize my presence that day added to the chaos that caused death, physical injury and emotional
distress to others.

        Your honor, I can promise you that you will never see me committing another offense for the
rest of my life. I am an honest hardworking American who came to America from Germany at 24
years of age. Neither my daughter nor I spoke English and we learned together with my soldier
husband habitually gone. I have accepted this country as mine and assimilated into our society.

        I made a stupid choice on 6 January walking in the Capitol. That choice I will carry for the
rest of my life. If I could turn back time, I would have stayed in Kansas and gone hiking in the
country. I’ve taught my daughter right from wrong and until January 6th, I have always set that
example. I will forever be impacted by Jan 6th not just by my personal actions, but also by the
actions of others. I accept full responsibility for my actions.

       I’ve long supported my local community. I ran a local church soup kitchen ministering to
the poor, invested in our youth through a Church, and performed years of faith based ministry to the
motorcycle community. These were supported by me both financially and with my personal time.

        The FBI knocking on my door in January was a frightening experience, as was being arrested.
When my arrest became public knowledge I feared what might happen as we live in a small town
where I am known by many through my career as a hair dresser. Many who I considered a friend or
client look the other way when meeting on the street or in the store. Subsequently and still true
today, I dread going out in public. Recently I determined that I needed to search out professional help
for my mental well being and am currently being treated.

        In addition to my personal anguish, I regret the impact on my daughter and husband of 37
years who has served faithfully as a career soldier and now as a Department of Defense civilian. He
has transitioned us to full time RV’ing, setting up residency in South Dakota, to travel around this
beautiful country. And now we don’t know what we will do when our lease expires in April 2022.
I have spent 28 years in America with only a single speeding ticket 20 years ago and I can promise
you that there is zero chance of recidivism. I wish only to disappear into obscurity for the remainder
of my years. I’m determined to stay away from politics and work on trying to make amends for my
conduct on January 6th. I am deeply sorry that what started out as an act of patriotism on my part
ended up so wrong.

                                                       Thank you,
                                                       Esther Schwemmer
